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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION


Jalesha Johnson, Louise Bequeaith, Brad                    Docket No. 20-306
Penna, Brandi Ramus, and Haley Jo Dikkers,

               Plaintiffs,
       v.                                                         Plaintiffs’ Motion
                                                            for a Preliminary Injunction
Stephan K. Bayens, Commissioner of the
Iowa Department of Public Safety, in his
official and individual capacities, Lieutenant         EXPEDITED RELIEF REQUESTED
Steve Lawrence, Iowa State Patrol District
16 Commander, in his official and individual
capacities, and Sergeant Tyson Underwood,
Assistant District 16 Commander, in his
individual capacity, Iowa State Patrol
Trooper Durk Pearston (Badge Number
168), in his individual capacity, and Iowa
State Patrol Trooper John Doe #1, in his
individual capacity.

               Defendants.


        Plaintiffs move for a preliminary injunction pursuant to Fed. R. Civ. P. Rule 65 to prevent

further irreparable injury pending a final adjudication of this action.

        As set forth in the accompanying Brief in Support of Plaintiff’s Motion for a

Preliminary Injunction, Plaintiffs are likely to succeed on their claim challenging the bans

as unconstitutional prior restraints on First Amendment rights; they are suffering continuing

irreparable injury; and the balance of the equities weighs in Plaintiffs’ favor.

        This Motion is supported by the accompanying Brief in Support of Plaintiff’ Motion

for a Preliminary Injunction and the Declarations of Plaintiffs, attached to this Motion, as

well as all attachments and exhibits thereto.




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Dated this 5th day of October, 2020

                                      Respectfully submitted:

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                                    CERTIFICATE OF SERVICE

      I hereby certify that on this date, I electronically filed the foregoing paper with the Clerk

of Court by using the CM/ECF system.

      The foregoing paper will also be served along with the Complaint and Summons to all

Defendants.

      Date: October 5, 2020

                                                                              /s/Rita Bettis Austen
                                                                                 Rita Bettis Austen
